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U.S. v. l.ord Felony Adu]t Defendant Appeal of Other Matters

 

 

 

 

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12. ATToRNEY‘s NAME mm N.m¢, M.l., wl N.m¢,i..¢lunng...y some 13. CooRT 0RI)ER W/IF'J iii .- H‘."iPHi`
AND MMLING ADDRESS 0 Appointing Counsel l:l C Co-Coun_eel

SCtth, D€WUH i:] F Subs Fol' Federa| Defemier ij R Subs For Retained Attorney

SUITE 3001 i:i P Suhs For Panel Attnrney g Y Stlndhy Counsel

100 N MAIN Prior Attorney's Nlme:

MBmphiS TN 38103 Appointment Da\e;

Because the above-named person represented has testified under oath or has
herwise latil fled this court that he or she (l) is financially unable to employ counsel and
T¢|¢ph.me Numb": 490 1) 522-8900 (2) does not wish tn waive counse|, and because the interests ofjustice so require. the

 

attorne whole namea ears in item 12 is a titled to re resentthis ersoni thin e,
l4. NAME AND MAILlNG ADDRESS OF LAW FIR.M (on|y provide per lnstructionx) or y pp ppa o p “ “

ij Other(SeI§structioos) " /C- %c[t/V

Signatnre of i’rexid|ng Jmiicia| Ofl\cer or By Order ofthe Court
(lR/'l(l/?()(l 5
Date of Order Nune Pro Tunc Date
Repaymenl or partial repayment ordered from the person represented t'or this service at
time of appointment. \:i YES I:l NO

 

 

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15. a. Arraignment and/or Plea
h. Bail and Detention Hearings
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C e. Sentencing Hearings
3 f. Revocation Hearings
;' g. Appeals Court
h. Other (Specit`y on additional sheets)
(Rate per hour - 5` ) 'DO'|`ALS:
lti. a. Interviews and Conferenees
§ b. Ohtaining and reviewing records
n c. Lega| research and brief writing
(r: d. Travel time
3 e. investigative and Other work ¢Specity on additional mem}
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l'f. Trttvel Expenses (lodging, parking meals, mileage, etc.)
18. Other Expenses (nther than experl, transcripts, e¢c.)
19. CERTIFiCA'I!ON OF ATTORNEY»'PA¥EE FOR TI-l'E PERIOD 0 F SERVICE 20. APPOINTMENT TERMINAT[ON DATE 21. CASE DISPO SiTlON
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21. C LA]M STATUS m F‘ma| Payrnem ij loterim Paymeot Number ____ I] Suppiementnl Poymettt
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representation? YES ij NO Il'yes. give details on additional sheets.
I swear nr affirm the truth or correctness of the above statementsl
Signlture oi'Al|orney: _.~__...`,________” Date:

 

  
             

 

 

 

 

 

 

 

 

 

 

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Honorable Bernice Donald
US DISTRICT COURT

